          Case 4:14-cr-00003-JLK                 Document 175 Filed 04/30/15                          Page 1 of 6               Pageid#:
                                                            490                                               ekqqo o#F1:tQ,.i.< r- le
 AO2458      (Rev.9/11-VAWAdditil
                                ms6/05)JudgmentinaCriminalCase                                                            AYQANMWN,##
             Sheet1                                                                                                              Flkj;
                                     UNITED STATES DISTRICT COURT                                                         AN 19215
                                                                                                                         ULIA      DL .
                                                 W estern D istrictofV irginia                                   B.                 .
                                                                                                                           DEP
         UNITED STATES OFAMERICA                                         JUDGM ENT IN A CRIM INAL CASE
                                                                         Case Num ber: DVAW 414CR000003-004
      NICHOLA S CONSON TO TINSLEY                                        Case Num ber:
                                                                         U SM N um ber: 18423-084
                                                                         W ayneD.Inge
                                                                         Defendant'sAttomey
TH E D EFEN D AN T'
                  .
(
Xlpleadedguiltytocountts) l,l6and17
Z pleadednolocontenderetocountts)
   which wasacceptedbythecourt.
Z wasfoundguiltyoncountts)
   aftera plea ofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
  Title & Section              NatureofOffense                                                            O ffense Ended
                                                                                                                 -                       Count
21U.S.C.j846           ConspiracytoPossesswithIntenttoDistributeCocaine                                       6/19/2014                    1

21U.S.C.j841(a)(1) Distribution ofCocaine                                                                     1/19/2012                    16

21U.S.C.j841(a)(1) DistributionofCocaine                                                                       2/28/12


       Thedefendantissentencedasprovidedinpages2through                         6     ofthisjudgment.Thesentenceisimposedpursuantto
theSentencing Reform Actof 1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Countls)                                  Z is Z aredismissedonthemotionoftheUnitedStates.
      liltisorderedthatthedefendqntmustnotifytheUnjedStatesattorpeyforthisdiltrictwithin30daysofgnychangeofname,residepce
o rma
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                                                                         4/30/2015
                                                                         DateoflmpositionofJudgment
                                                                                       f

                                                                                                      ;   (
                                                                     t
                                                                         Signa reofJudge



                                                                         Jackson L.Kiser.SeniorUnited StatesDistrictJudge
                                                                         NameandTitleofJudge


                                                                         Date
           Case 4:14-cr-00003-JLK              Document 175 Filed 04/30/15                  Page 2 of 6       Pageid#:
                                                          491
AO 2458    (Rev.9/11-VAW Addi
                            tions6/05)Judgmenti
                                              nCriminalCase
           Sheet2.- Im prisonm ent                                                                                 .-    -       .


                                                                                              Judgment-Page    2        of   6
D EFEN DA N T: N ICHOLAS CON SONTO TIN SLEY
CA SE N U M BER:DV AW 414CR000003-004


                                                          IM PR ISO N M EN T

       Thedefendantishereby com mitted to thecustody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm of:
   15 m onthson Counts 1,16 and 17,to be served concurrently.




  IZIThecourtmakesthefollowingrecommendationstotheBureauofPrisons:



  I
  ZI ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
  X ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
       Cl at                                  IZl a.m. r-I p.m .
       K     asnotitsedbytheUnitedStatesMarshal.
  1-1 ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
       1-1 before               on
       I'
        -I asnotitiedbytheUnitedStatesM arshal.
       r-1 asnotitiedbytheProbationorPretrialServicesOffice.


                                                              R ETURN
lhaveexecmedthisjudgmentasfollows:




       D efendantdelivered on                                              .    to

a -   --                                        ,   withacertifiedcopyofthisjudgment.


                                                                                           UNITED STATESMARSHAL

                                                                    By
                                                                                        DE?UTYUNITEDSTATESMARSHAL
           Case 4:14-cr-00003-JLK              Document 175 Filed 04/30/15                   Page 3 of 6         Pageid#:
                                                          492

AO 2458     (Rev.9/ll-VAW Addftions6/05)JudgmentinaCrimi
                                                       nalCase
            Sheet3- SupcrvisedRelease                                                                            -   =   .        .
                                                                                                Judgment- page       3   of   6
DEFEN DANT: NICHOLAS CONSONTO TINSLEY
CASE NUM BER:DVAW 414CR000003-004
                                                   SUPERVISED RELEA SE
 Upon release from im prisonment,the defendantshallbe on supervised release foraterm of:
 3 yearson each ofCounts 1,16 and 17,al1suchtennsto nm concurrently.

          Thedefendantmustreporttotheprobation officeinthedistricttowhichthedefendantisreleasedw ithin 72hoursofreleasefrom the
 custody ofthe Bureau ofPrisons.
 Thedefendantshallnotcommitanotherfederal,stateorlocalcrime.
 Thedefendantshallnotunlawfullyppssessacontrolled spbjtance.Thedefendantshallreftainfrom anyunlawfuluseofaqontrolled
 substance.Thedefepdantshallsubm ltto onedrugtestw lthln 15daysofreleasefrom im prlsonm entandatleasttwoperiodlcdrugtests
 thereafter,asdeterm lned by the court.
 (7) Theabovedrugtestingcondition issuspended,basedonthecourt'sdeterminationthatthedefendantposesa1ow risk of
       futuresubstanceabuse.(Check,(fapplicable.
                                               )
 K     Thedefendantshallnotpossessafireann,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,tfapplicable.
                                                                                                                     )
 K     Thedefendantshallcooperateinthecollection ofDNA asdirtctedbytheprobationofficer.(Check,fapplicable.
                                                                                                         )
 Z     ThedefendantshallcomplvwiththerenuirementsoftheSexOffenderReaistrationandNotitkationAct(42U.S.
                                                                                                    C.i16901,etseq.j
       asdirected bvtheprobatlo-
                               nofficer,thebureauofPrisons.oranv statesex-' offenderregistration agencyinwhich heo
                                                                                                                 -rsheresides,
       works,isasfudenf,orwasconvictedofaqualifyingoffenl se. (ch
                                                                -eck.tfapplicable.
                                                                                 )
 EZl Thedefendantshallparticipatein anapprovedprogram fordomesticviolence.(Check,(fapplicable.
                                                                                             )
         lfthisjudgmentimposejafineorrestitution,itisaconditionofsupeaisedreleasethatthedefendantpayinaccordancewiththe
 ScheduleofPaymentssheetofthlsjudgment.
         Thedefendantmustcom plyw iththestandardconditionsthathavebeenadoptedbythiscourtaswellasw ithanyadditionalconditions
 ontheattachedpage.
                                        STANDARD CO NDITION S OF SUPERV ISIO N
          thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
          thedefendantshallreportto theprobation officerin am annerand frequency directed by the courtorprobation officer;
     3) thedefendantshallanswertruthfullya11inquiriesbytheprobationofficerandfollow theinstructionsoftheprobationofficer;
     4) thedefendantshallsupporthisorherdependentsandmeetotherfamilyresponsibilities;
     5) thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobationofficerforschoolingstraining,orother
          acceptablereasons'
                           ,
          thedefendantshallnotifytheprobation officeratleasttendayspriortoany changeinresidenceoremployment;
          thedefendantshallrefrafnfrom excessiyeuseofalcoholandshallnotpurchase,possess,use,distribute,oradpjnisterany
          controlled substanceorany paraphernallarelatedtoanycontrolled substances,exceptasprescribedbyaphyslclan;
          thedefendantshallnotfrequentplaceswherecontrolled substancesareillegally sold,used,distributed,oradm inistered;
          thedefendantshallnotassoçiatewithanypersonsengaxed incriminalactivityandshallnotassociatewithanypersonconvictedofa
          felony,unlessgrantedpennlssiontodoso'bytheprobatlonofficer;
  l0) thedefendantshallpepmit1!prqbationofficertovisithim orheratanytimeathomeorelsewhereandshallpermitconfiscationofany
          contraband observed ln plaln vlew ofthe probation officer;
          thedefendantshallnotifytheprobationofficerwithinseventy-two hoursofbeingarrestedorquestionedby a1aw enforcem entoftk er;
          thedsfepdantshallnotenterintoany agreem entto actasan informeror a specialagentofa 1aw enforcem entagency withoutthe
          perm lsslon ofthe court;and

          asdirdectedbytheprpbationofficerythgdefendantshallnotifythirdpartiesofrisksthatmaybeoccaëionepbythedefendant'scriminal
          reec
          d   or orkersonalk
                           hlstoryj)rcharacterlsticsandshallpermittheprobationofficertomakesuchnotlficatlonsandtocontirm the
             fendantscom pllancew lth such notlfication requirement.
           Case 4:14-cr-00003-JLK              Document 175 Filed 04/30/15                Page 4 of 6          Pageid#:
                                                          493
 AO 2458     (Rev.9/l1-VAW Additions6/05)JudgnwntinaCriminalCase
             Sheet3C -Supervised Release
                                                                                              Judgm ent-page    4   of      6
 D EFEN DAN T : N ICHOLAS CON SONTO TIN SLEY
 CA SE N UM BER ; DVAW 4l4CR000003-004

                                  SPECIAL CO NDITIONS OF SUPERVISIO N
l.Thedefendantshallpay any specialassessment,fine,and/orrestimtionthatisimposedbythisjudgment.
2. Thedefendantshallparticipatein aprogram oftesting and treatm entforsubstanceabuse,asapproved by theprobation officer,untilsuch
tim easthe defendanthassatisfied al1requirem entsoftheprogram .

3. Thedefendantshallreside in a residence free offirearm s,am munition,destructive devices,and dangerousweapons.
4.Thedefendantshallsubm ittowarrantlesssearch andseizureofperson andpropertyasdirectedbytheprobation ofticer, todeterm ine
whetherthedefendantisinpossessionoffirearm sandillegalcontrolledsubstances.
          Case 4:14-cr-00003-JLK              Document 175 Filed 04/30/15                  Page 5 of 6         Pageid#:
                                                         494
AO 2458   (Rev.9/l1-VAW Additions6/05)JudgmentinaCriminalCase
          Sheet5-CriminalM onetaryPenalties
                                                                                          Judgment-Page        5   of        6
DEFEN DA N T: NICHOLAS CONSONTO TIN SLEY
CA SE N UM BER: DVAW 414CR000003-004
                                         CRIM INAL M ONETARY PEN ALTIES
    The defendantmustpay the totalcrim inalm onetary penaltiesunderthe schedule ofpaymentson Sheet6.

                    Assessm ent                                  Fine                            Restitution
TO TALS          $ 300.00                                   $                                $


U1 Thedeterminationofrestimtion isdeferreduntil                 .AnAmendedludgmentinaCriminalCase(AO 245f3willbeentered
     aftersuch determ ination.

     Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
     lfthedefendantm akesapartialpaym ent,each payee shallreceive an approximately proportioned paym ent, unless specified othenvise
     inthepriority orderorpercentagepaymentcolumnbelow .However,pursuantto 18U.S.C j366441),a1lnonfederalvictimsmustbe
     paidbeforetheUnitedStatesispaid.
NameofPavee                                       TotalLoss*                 Restitution Ordered            Prinriw orPercentaee




TOTALS                                                           $0.00                              $0.00

     Restitution amountordered pursuanttopleaagreement$
     Thedefendantmustpay intereston restitution andatineofmorethan $2,500,unlessthertstitutionorfineispaidinfu11beforethe
     fifteenthdayafterthedateofthejudgment,pursuantto18U.S.C.j3612(9.A11ofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddefault,pursuantto18U.S.
                                                        C.j36l2(g).
     Thecourtdeterm inedthatthedefendantdoesnothavetheabilitytopay interestand itisorderedthat:
     EZI theinterestrequirementiswaivedforthe ((() fine EEIrestitution.
     1
     -7 theinterestrequirementforthe           fine (-l restitution ismodifiedasfollows:


*Findings forthetotalamountoflossesarerequired underChapters l09A , 1l0,1IOA,and 113A ofTitle 18 foroffensescomm itted on
orafter Septem ber 13,1994,butbefore April13, 1996.
           Case 4:14-cr-00003-JLK               Document 175 Filed 04/30/15                  Page 6 of 6        Pageid#:
                                                           495
AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
            Shcet6-SchedulcofPayments                                                                              -             -   - ...-.



DEFEND ANT: NICHOLAS CON SON TO TINSLEY                                                                  Judgm ent-Page 6 of 6
CASE N UM BER:DVAW 414CR000003-004
                                               SC H ED U LE O F PA YM EN TS
H aving assessed the defendant'sability to pay,the totalcrim inalmonetary penaltiesaredue im mediately and payableasfollows:

 I
 XI Lumpsum paymentof$300.00              immediately,balancepayable
        (() notlaterthan                       ,or
        ((() inaccordance     IZ C, I Z D, I   Z E, I Z F or,Z Gbelow);or
B(
 4(
  q) Paymenttobeginimmediately(maybecombinedwith (q)C, I    Z D, Z F,or Z G below);or
 EII Paymentinequal                     (e.g.,weekly,monthly,quarterly)installmentsofs                                 overaperiodof
                         (e.g.,monthsoryears),tocommence                         (e.g.,30or60days)afterthedateofthisjudgment;or
o ((
   rq
    lj Paymentinequal                               (e.g.,weekly,monthly,quarterly)installmentsof$                     overaperiodof
                         (e.g.,monthsoryears),tocommence                        (e.g.,30or60days)afterreleasefrom imprisonmenttoa
          term ofsupervision;or
   lrj Paymentduringthetennofsupervisedreleasewillcommencewithin                             (e.g.,30or60days)afterreleasefrom
          im prisonment.Thecourtwillsetthepaym entplanbasedonanassessm entofthedefendant'sabilitytopayatthattim e;or
   I
   '-'J Duringthetennofimprisonment,paymentinequal                            (e.g.,weekly,monthly,quarterly)installmentsof
          $               ,or         % ofthedefendant'sincome,whicheveris greater xtocommence                   (e.g.,30or
          60days)afterthedateofthisjudgment;AND paymentinequal                      (e.g.,weekly,monthly,quarterly)
          installmentsof$                duringthetennofsupervisedrelease,tocommence                     (e.
                                                                                                           g.,30 or60days)
          afterrelease from im prisonment.
G1
 -7 Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:


Anyinstallmentscheduleshallnotprecludeenforcementoftherestimtion orfineorderbytheUnitedStatesunder18U.S.C jj3613and
3664(119.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimedttringtheperiodofimprisonmentorsupervision,andthedefendant
shallnotify theprobation officerand theU .S.Attorney ofany change in the defendant'
                                                                                  seconom iccircum stancesthatmay affectthe
defendant' sability to pay.
A 1lcrim inalmonetary penaltiesshallbe madepayableto the Clerk,U.S.DistrictCourt,2l0 Franklin Rd.,Suite 540,Roanoke,V irginia 24011,
fordisbursem ent.
The defendantshallreceive creditforallpaymentspreviously madetoward any criminalm onetary penaltiesimposed.
Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestittdionhasbeenorwillbe
entered.
  Z JointandSeveral
      DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmotmtand
      corresponding payee,ifappropriate.




  Z Thedefendantshallpaythecostofprosecution.
  Z Thedefendantshallpaythefollowingcourtcostts):
  1
  -1Thedefendantshallforfeitthedefendant'sinterestinthefollowingpropeo totheUnitedStates:



  Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitution principal,(3)restimtion interest,(4)tineprincipal,
  (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
